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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

Bytemark, |nc.

 

 

 

 

 

Plaintiff(s), CIVIL CASE MANAGEMENT PLAN
W
- against -
XEROX CORP. et a|. 17 Civ. 1803 (PGG)
Defendant(s).

 

 

PAUL G. GARDEPHE, U.S.D.J.:

After consultation with counsel for the parties, the Court adopts the following
Civil Case Management Plan and Scheduling Order, in accordance with Federal Rules of Civil
PrOC€dur€ 16 and 26(9. This Scheduling Order is only for Counts 3 through 8 .

l. All parties do E / do not consent to conducting further proceedings before a
Magistrate Judge, including motions and trial, pursuant to 28 U.S.C. § 636(c).
[Check one.]

2. This case is / is not |::| to be tried to a jury. [Check one.]

3. No additional parties may be joined except with leave of the Court. Except for good
cause shown, any motion to join additional parties must be filed within 30 days from the
date of this Order.

4. A party may not amend its pleadings except with leave of the Court. Except for good
cause shown, any motion t0 amend pleadings must be filed within 30 days from the date

of this Order.

5. The parties must complete their initial disclosures under Federal Rule of Civil Procedure
26(a)(l) no later than 14 days from the date of this Order.

6. The parties must complete f_ac_t discovery no later than May 11 2019
[Insert date; typically 90 days from issuance of this scheduling order.]

7. If all parties consent in writing, they may extend the following interim deadlines without
application to the Court, provided that the parties complete all fact discovery by the date
set forth in paragraph 6. Under this Order’s interim deadlines, the parties must:

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a. Serve initial requests for production of documents by NOV€mber 8, 2018
[Insert date; typically 2 Weeks from issuance of this scheduling order.]
initial
b. Serve interrogatories by NOVemb€F 8 2018 [Insert date; typically 2

 

weeks out from' issuance of this schediilng_ordcr l EaCh party (Plaintiff and
Defen ant) 1_5 perm1tted up to erroq atories.
c. Complete depositions of fact witnesses by May 1, 2019 _. [Insert

date; typically 90 days from issuance of this scheduling order .]

i. Unless the parties agree or the Court so orders, the parties may not hold
depositions until all parties have responded to initial requests for
document production.

ii. There is no priority in deposition by reason of a party’s status as plaintiff
or defendant

iii. Unless the parties agree or the Court so orders, non-party depositions must
follow initial party depositions

iv. Consistent with Federal Rule of Civil Procedure 30(d), the parties may not
extend depositions beyond one business day without prior leave of the
Court=

d. Serve requests to admit no later than I\/|arCh 8, 2019 , [Insert date;
typically 75 days out from issuance of this scheduling order.]

The parties must complete expert discovery no later than Ju|y 8l 2019
[Insert date; typically 30 days after cnd of fact discovery.]

 

a. Every party-proponent that intends to offer expert testimony in respect of a claim
~ including any counterclaim, cross-claim or third-party claim - must make the
disclosures required by Federal Rule of Civil Procedure 26(a)(2) by
Apri| 291 2019 . [Insert date; typically 90 days from issuance of this order.]
Every party-opponent of such claim that intends to offer expert testimony in respect of such
claim must make the disclosures required by Federal Rule of Civil Procedure
26(a)(2) by May 20, 2019 . [Insert date; typically 2 weeks later.]

 

 

b. No party may offer expert testimony - whether designated as “rebuttal” or
otherwise - beyond the scope of the opinions that the aforesaid disclosures cover,
except with leave of the Court, application for which must be made no later than 7
calendar days after the latter of the dates specified in paragraph (a). The parties

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may depose all experts, but such depositions must occur within the time limit set
forth for expert discovery in paragraph 8.

c. Plaintiff(s) anticipate expert testimony concerning the following issue(s):
|nfringement, rebuttal to invalidity, damages

d. Defendant(s) anticipate expert testimony concerning the following issue(s):
Damaqes, |iabi|itv, trade secrets, economic value, public disclosures

No later than 14 days following the close of fact discovery, all counsel must meet face-to-
face for at least one hour to discuss settlement.

Parties seeking to make post-discovery dispositive motions should submit a letter to the
Court in accordance with Rule 4(A) of the Court’s lndividual Practices by

 

 

AuquSt 8, 2019 . [Insert date; typically 1 week after the close of discovery.]
Opposition letters are due AuquSt 15, 2019 . [Insert date; typically 3 business
days later.]

Unless otherwise ordered by the Court, within 30 days from the date for the completion
of discovery in a civil case or, if a party has filed a dispositive motion, then within 30
days of a decision resolving the motion, the parties shall submit to the Court for its d
approval a joint pretrial order prepared in accordance with the Court’s Individual
Practices and Federal Rule of Civil Procedure 26(a)(3).

Counsel for the parties have conferred and their present best estimate of the length of trial
is: 7 . [Insert number of days.]

 

At the close of discovery or, if a party has filed a dispositive motion, then within 30 days
of a decision resolving the motion, the Court will set a Ready Triai Date. At any time on
or after the Ready Tria| Date, the Court may call the parties to trial upon 48 hours’ notice.
Therefore, counsel must notify the Court and their adversaries in writing of any potential
scheduling conflicts - including, but not limited to, trials and vacations - that would
prevent a trial at a particular time. Such notice must come before the Court notifies
counsel of an actual trial date, not after counsel receives notification of the actual trial
date. Counsel should notify the Court and all other counsel in writing, at the earliest
possible time, of any scheduling problems involving out-of-town witnesses or other
exigencies

 

 

Where the parties resolve the case before the entry of judgment, they must submit a
stipulation of discontinuance - signed by all parties - before the Court will remove the
case from the trial calendar. If the parties settle within 48 hours of trial or the filing of a
dispositive motion, they w immediately notify the Court of such settlement, and fax to
the Court no less than 36 hours before their planned appearance, a stipulation of
discontinuance, signed by all parties

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15. The next pretrial conference is scheduled for . [To be filled in
by Court after consultation with parties.]

This ORDER may not be modified or the dates herein extended, except by further
Order of this Court for good cause shown. Any application to modify or extend must be made in

a written application in accordance with the Court’s Individual Practices.

Dated: New York, New York

SO ORDERED.

 

Paul G. Gardephe
United States District Judge

